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                                                                    USDC SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
 SANDY GRACIANO, ON BEHALF OF                                       DOC #:
 HIMSELF AND ALL OTHER                                              DATE FILED: 1/11/2021
 PERSONS SIMILARLY SITUATED,

                              Plaintiff,

               -against-                                                 21 Civ. 90 (AT) (GWG)

 DECORPRICE CORP,                                                                ORDER

                        Defendant.
ANALISA TORRES, District Judge:

        To conserve resources, to promote judicial efficiency, and in an effort to achieve a faster
disposition of this matter, it is hereby ORDERED that the parties discuss whether they are willing to
consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the assigned
Magistrate Judge.

        If all parties consent to proceed before the Magistrate Judge, counsel for Defendant shall, by
March 8, 2021, email a fully executed Notice, Consent, and Reference of a Civil Action to a
Magistrate Judge form, available at https://nysd.uscourts.gov/node/754 and attached to this order, to
Orders_and_Judgments@nysd.uscourts.gov. If the Court approves that form, all further proceedings
will then be conducted before the assigned Magistrate Judge rather than before me. An information
sheet on proceedings before magistrate judges is also attached to this order. Any appeal would be
taken directly to the United States Court of Appeals for the Second Circuit, as it would be if the
consent form were not signed and so ordered.

        If any party does not consent to conducting all further proceedings before the assigned
Magistrate Judge, the parties must file a joint letter, by March 8, 2021 advising the Court that the
parties do not consent, but without disclosing the identity of the party or parties who do not
consent. The parties are free to withhold consent without negative consequences.

       SO ORDERED.

Dated: January 11, 2021
       New York, New York
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